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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO. 25-CV-60447-RLR

   DAVID CLAYMAN,
   HARMLESS HANDS,

        Plaintiffs,

   v.

   UNITED STATES,

     Defendant.
  ________________________/

                     ORDER OF REFERENCE TO MAGISTRATE JUDGE
                  AND ORDER OF COURT-MANDATED REQUIREMENTS ON
                  SERVICE, DEFAULTS, AND JOINT SCHEDULING REPORTS

           The Court enters the following Order to apprise the parties of its procedures on service,

  defaults, and joint scheduling reports. The parties shall comply with the following:

        1. Service

           Unless service is waived, proof of service must be made to the Court by filing the server’s

  affidavit immediately upon receipt. If a Defendant waives service, notice of the same shall be filed

  immediately. Additionally, until such time as each Defendant has appeared in this action, the

  Plaintiff(s) 1 shall file status reports on the progress of service. The status reports on service shall

  be due on the first business day of each calendar month. The status reports must take the form of

  a spreadsheet resembling the illustrative spreadsheet found on the Court’s website at:

  http://www.flsd.uscourts.gov/content/judge-robin-l-rosenberg. If the Plaintiffs(s) fail to comply



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    Any party seeking formal service of process, such as a Defendant bringing a counterclaim against a third-party
  defendant, must comply with this Order. Relatedly, any party entitled to an entry of default (such as a Defendant with
  an unanswered counterclaim) must comply with this Order.
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  with the Court’s requirements in this section, the Court may enter an order to show cause why the

  case should not be dismissed for lack of prosecution and/or a failure to comply with the Court’s

  orders.

      2. Default

            In the event a served Defendant does not appear in this action, the Plaintiff(s) shall file a

  motion for clerk’s default within seven days of the deadline for the Defendant to answer. 2 In the

  event a Defendant does appear in this action but fails to file an answer, the Plaintiff(s) shall file a

  motion for the Court’s entry of default within seven days of the deadline for the Defendant to

  answer. Motions for final default judgment, if applicable, shall be filed within seven days of the

  entry of default. If the Plaintiff(s) fail to comply with the requirements in this section, the Court

  may enter an order to show cause why the case should not be dismissed for lack of prosecution

  and/or failure to comply with the Court’s orders.

      3. Joint Scheduling Reports

            Within two weeks of the date upon which any one defendant appears in this action, the

  parties are directed to prepare and file a joint scheduling report (and e-mail proposed pretrial

  deadlines) as required by Local Rule 16.1. The parties’ proposed pretrial deadlines should be a

  Microsoft Word document utilizing the format in the Court’s sample trial order on the

  undersigned’s webpage at: http://www.flsd.uscourts.gov/content/judge-robin-l-rosenberg. The

  joint scheduling report shall include all information required by Local Rule 16.1(b)(2) and (b)(3).

  An extension of time to file an answer to a pleading does not toll the party’s obligation to comply

  with this section. The Court may enter a scheduling order with a trial date and pretrial deadlines


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   If the parties enter into a private agreement for an extension of time for a Defendant to file an answer, that private
  agreement does not supersede the Court’s requirement for the Plaintiff to move for the entry of a clerk’s default.
  Extensions of time to answer a pleading must take the form of a motion to the Court.

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  prior to the parties’ filing of a joint scheduling report. In such a circumstance, the Court will sua

  sponte reconsider the trial date and pretrial deadlines upon receipt of the joint scheduling report,

  and, if necessary, the Court will enter an amended scheduling order.

                                          Order of Referral

          Additionally, pursuant to 28 U.S.C. § 636(b)(l)(A) and the Magistrate Judge Rules of the

  Local Rules of the Southern District of Florida, the above-captioned cause is referred to United

  States Magistrate Judge Patrick M. Hunt for appropriate disposition of all pro hac vice motions,

  motions to substitute counsel, and pretrial motions related to discovery.

          The undersigned also refers to Judge Hunt the authority to conduct a Rule 16 conference,

  should Judge Hunt conclude—based upon his review of the pleadings—that a Rule 16 conference

  would benefit this case. Relatedly, Judge Hunt is authorized to permit a party to amend a pleading.

  If any party amends a pleading based on Judge Hunt’s authorization, the undersigned will deem

  any pending motion to dismiss (or motion to strike) the pleading as moot.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 6th day of May,

  2025.

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  Copies furnished to:                                  ROBIN L. ROSENBERG
  All counsel of record                                 UNITED STATES DISTRICT JUDGE




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